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ll'lOMAS M. GOULD
UNITED sTATEs 0F AMERICA, Wm at T€'-'»l. :?'i'i§»MS
Plaintiff,
vs. Criminal No. 2:04cr20473-M1

MICHAEL ANTHONY SZYMANKSI,

Defendant.

 

CONSENT ORDER GRANTING PERMISSION FOR SPECIFIED TRAVEL

 

This matter came before the Court on oral motion of counsel, Walter L. Bailey,
Jr., for the defendant, Michael Anthony Szymanski, that he be allowed to travel from
Murii'eesboro, Tennessee, to Alpena, Michigan, and OSsineke, Michigan, and return, and
for good cause shown;

IT IS HEREBY ORDERED that the defendant, Michael Anthony Szymanski, is
granted permission to travel round-trip from Murfreesboro, Tennessee, to Alpena,
Michigan, and Ossineke, Michigan, during the dates ofAugust 19, 2005, through August
28, 2005. Travel is limited and the defendant is to be restricted to staying With family
members only, and he shall not mingle or associate With anyone outside the scope of

family members.

It is so ORDERED this z day of ®:2005 .

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JON . McCALLA
ED STATES DISTR_ICT JUDGE

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Approved:

 

v

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UNITED sTATE DISTRIC COUR - WESTERN D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
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August 2, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

